        Case 1:24-cv-02844-JMF               Document 1          Filed 04/15/24    Page 1 of 18




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------X
DAMIAN CHIMBOLEMA, DIEGO ARMANDO
                                                                         Case No. 24-CV-2844
CORO VALENTE, FELIX GERMAN EVAS GUAMAN
and ANGELICA MARIA JEREZ ASITIMBAY,                                      CLASS AND COLLECTIVE
individually and on behalf of all others similarly situated,             ACTION COMPLAINT
                                               Plaintiffs,               JURY TRIAL REQUESTED

                         -against-

BROOKLYN GRID LLC, SAMEER BATRA, and GIL
BROITMAN,
                                                 Defendants.
---------------------------------------------------------------------X
       Plaintiffs Damiam Chimbolema (“Chimbolema”), Diego Armando Coro Valente (“Coro”),

Felix German Evas Guaman (“Evas”), and Angelica Maria Jerez Asitimbay (“Jerez”) (collectively,

“Plaintiffs”), individually and on behalf of all others similarly situated, by their attorneys,

TakeRoot Justice, complaining of the Defendants, Brooklyn Grid LLC (“BK Grid”), Sameer Batra

(“Batra”), and Gil Broitman (“Broitman”) (collectively, “Defendants”), respectfully allege as

follows:

                                         NATURE OF CLAIMS

       1.       This lawsuit seeks to recover unpaid wages and overtime compensation for

Plaintiffs and similarly situated individuals who have worked as construction workers for

Defendants pursuant to the Fair Labor Standards Act of 1938, as amended, 29 U.S.C. § 201, et seq.

(“FLSA”), and the New York Labor Laws §§ 190 et seq. and 650 et seq. (“NYLL”).

       2.       Defendants have engaged in unlawful conduct pursuant to a corporate policy of

minimizing labor costs and denying employees compensation.




                                                    1 of 18
        Case 1:24-cv-02844-JMF           Document 1       Filed 04/15/24      Page 2 of 18




       3.      Defendants failed to pay Plaintiffs and similarly situated employees overtime

compensation at a rate of 1.5 times their regular rate of pay for all hours worked in excess of 40

hours per work week.

       4.      Defendants often failed to pay Plaintiffs and all similarly situated employees the

applicable New York State minimum wage rate for all hours worked.

       5.      Defendants often paid Plaintiffs and similarly situated employees infrequently and

incompletely, incurring substantial debts of unpaid wages owed to Plaintiffs and similarly situated

employees.

       6.      At all relevant times, Plaintiffs and all similarly situated employees were non-

exempt employees pursuant to the FLSA and the NYLL and were therefore entitled to overtime

compensation, minimum wages, and timely payment of all wages due.

       7.      Defendants failed to provide adequate wage notices at the time of hire, or anytime

thereafter, to Plaintiffs and other similarly situated employees.

       8.      Nor did Defendants provide accurate wage statements to Plaintiffs and other

similarly situated employees.

                                 JURISDICTION AND VENUE

       9.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331, in that this is an action

arising under the FLSA.

       10.     This Court has supplemental jurisdiction over the claims arising under New York

state law pursuant to 28 U.S.C. § 1367, in that the New York state law claims are so closely related

to Plaintiffs’ federal claims as to form the same case or controversy under Article III of the United

States Constitution.

       11.     Venue is proper in this judicial district under 28 U.S.C. § 1391, as a substantial part

of the events and omissions giving rise to the claims occurred in this judicial district, and

                                               2 of 18
            Case 1:24-cv-02844-JMF         Document 1       Filed 04/15/24      Page 3 of 18




Defendants conduct business through their employees, including Plaintiffs, within this judicial

district.

                                            THE PARTIES

                                               Plaintiffs

            12.   Plaintiffs are adult individuals residing in the State of New York.

            13.   Plaintiffs and all similarly situated employees were employed by Defendants.

            14.   Plaintiffs and all similarly situated employees are covered employees within the

meaning of the FLSA and NYLL.

                                              Defendants

            15.   BK Grid is a domestic limited liability company with its principal place of business

located at 1216 Olmstead Ave, Bronx, NY 10462.

            16.   BK Grid’s address registered with the Department of State is 67 West. St. Suite

401, Brooklyn, NY 11222.

            17.   Upon information and belief, Batra and Broitman are individuals residing in the

State of New York.

            18.   At all relevant times, Batra and Broitman were owners and/or managers of BK Grid.

            19.   At all relevant times, Batra and Broitman were and still are officers, directors,

shareholders, owners, and/or persons in control of BK Grid, who exercise significant control over

BK Grid’s operations and had the authority to hire, fire, and discipline their employees; set

employees’ work schedules and conditions of employment; determine the rate and method of

payment for employees; and maintain employment records.

            20.   Upon information and belief, Defendants jointly employed Plaintiffs and all

similarly situated employees with various subcontractors who jointly managed, supervised, hired,



                                                3 of 18
          Case 1:24-cv-02844-JMF          Document 1      Filed 04/15/24     Page 4 of 18




fired, and controlled the manner of pay of Plaintiffs, and are jointly and severally liable in this

matter.

          21.   At all relevant times, Defendants were a single enterprise and/or joint employers as

Defendants operate for the same business purpose and have common ownership and management.

          22.   Defendants are contractors as defined by NYLL §198-e(8)(b) and are therefore

liable for any debt resulting from the actions or omissions of their subcontractors under NYLL

§198-e.

          23.   At all relevant times, Defendants were responsible for setting Plaintiffs’ and all

similarly situated employees’ schedules and daily activities and supervising their performance.

          24.   At all relevant times, Defendants had the power to discipline and terminate

Plaintiffs and all similarly situated employees.

          25.   At all relevant times, Defendants were responsible for compensating Plaintiffs and

all similarly situated employees.

          26.   At all relevant times, Defendants knew or should have known that their conduct

was prohibited by the FLSA and NYLL.

          27.   Defendants are covered employers within the meaning of the FLSA and the NYLL.



                                      STATEMENT OF FACTS

                                    Plaintiffs’ Factual Allegations

     28.        Defendants employed Plaintiffs as construction workers from around July 2021

until around September 2022.

     29.        As construction workers, Plaintiffs’ primary job duties included demolition,

excavation, tiling, painting, cleaning, and general construction work.



                                               4 of 18
         Case 1:24-cv-02844-JMF         Document 1         Filed 04/15/24      Page 5 of 18




     30.       Upon information and belief, Plaintiffs were jointly employed by BK Grid and a

series of subcontractors whose identities are largely unknown to Plaintiffs.

     31.       During approximately the last month of their employment by Defendants, around

September 2022, Plaintiffs were jointly employed by the subcontractor JCM Pro Builders Limited

Liability Company (“JCM”).

     32.       With the possible exception of the time Plaintiffs were jointly employed by JCM,

Defendants and the relevant subcontractors failed to adequately track Plaintiffs’ working hours

and did not mandate them to keep a record of their time.

     33.       Plaintiffs regularly worked in excess of forty (40) hours per week, as described

below.

     34.       For approximately the first two (2) or three (3) months of their employment,

Plaintiffs were generally paid their promised regular rate for the hours worked but were not paid

the overtime premium for hours worked over forty (40).

     35.       Beginning around the third or fourth month of Plaintiffs’ employment and

continuing until approximately August 2022, Defendants began paying Plaintiffs less frequently

and incompletely, incurring substantial debts of unpaid wages owed to Plaintiffs.

     36.       At times, Plaintiffs were paid between one-hundred and three-hundred dollars

every two weeks.

     37.       As a result, Plaintiffs’ actual payrate periodically fell below the New York State

minimum wage.

     38.       Plaintiffs complained numerous times about the infrequent and incomplete pay and

were promised by agents of Defendants that their pay would be made up later.

     39.       During the last month or so of their employment, around September 2022, Plaintiffs

were jointly employed by BK Grid the subcontractor JCM.

                                             5 of 18
         Case 1:24-cv-02844-JMF         Document 1       Filed 04/15/24      Page 6 of 18




     40.       During this period, Plaintiffs’ typical schedules were reduced to approximately

forty (40) hours per week, and they received their correct pay, including overtime.

     41.       JCM implemented a timekeeping system through an app called Exaktime which

Plaintiffs downloaded to their phones and used to clock in and out.

     42.       The Exaktime app was only in usage for approximately September 2022, the last

month of Plaintiffs’ employment.

     43.       In or around September 2022, Plaintiffs were told by JCM not to come to work until

JCM told them to come back, but JCM never called them back to work.

     44.       In or around September 2022, Plaintiffs sought help from the organization New

Immigrant Community Empowerment (“NICE”) to obtain their unpaid wages from BK Grid.

     45.       Shortly after NICE contacted BK Grid to advocate on behalf of the Plaintiffs, BK

Grid blocked the Plaintiffs’ access to the time records in the apps on their phones.

                                  Plaintiffs’ Schedules and Pay

A.   Plaintiff Chimbolema

     46.       From approximately July 2021 through August 2022, Chimbolema worked

approximately seventy-five (75) hours of compensable time per week, as follows:

     47.       Chimbolema regularly worked six (6) days per week, Mondays through Saturdays

and often worked on Sundays as well.

     48.       Chimbolema almost always began work at 7:00 a.m. and his end time varied

between 6:00 p.m. and 12:00 a.m., with his average workday being approximately thirteen (13)

hours.

     49.       Chimbolema usually received a thirty (30) minute lunch break.

     50.       On approximately three (3) occasions, Chimbolema worked overnight at the

construction site.

                                              6 of 18
       Case 1:24-cv-02844-JMF          Document 1         Filed 04/15/24      Page 7 of 18




     51.       During approximately his last month of employment, Chimbolema worked around

forty (40) hours per week and received his correct pay.

     52.       Chimbolema’s promised rate of pay was $200.00 per day, or $25.00 per hour

assuming a standard eight (8) hour day.

     53.       Defendants consistently failed to make timely wage payments to Chimbolema. As

a result of this recurring issue, they accumulated a substantial debt owed to Chimbolema in unpaid

wages. This outstanding debt amounts to at least $7,700.00, according to his own records.

B.   Plaintiff Coro

     54.       From approximately July 2021 through August 2022, Coro worked approximately

fifty-two and a half (52.5) hours of compensable time per week, as follows:

     55.       Coro regularly worked five (5) days per week, Mondays through Fridays and

sometimes worked on Saturdays as well.

     56.       Coro almost always began work at 7:00 a.m. and his end time varied, with his

average workday being approximately eleven (11) hours.

     57.       Coro usually received a thirty (30) minute lunch break.

     58.       During approximately his last month of employment, Coro worked around forty

(40) hours per week and received his correct pay.

     59.       Coro’s promised rate of pay was $170.00 per day, or $21.25 per hour assuming a

standard eight (8) hour day.

     60.       Defendants consistently failed to make timely wage payments to Coro. As a result

of this recurring issue, they accumulated a substantial debt owed to Coro in unpaid wages. This

outstanding debt amounts to at least $4,200.00, according to his own records.

C.   Plaintiff Evas



                                             7 of 18
       Case 1:24-cv-02844-JMF          Document 1       Filed 04/15/24     Page 8 of 18




     61.       From approximately July 2021 through August 2022, Evas worked approximately

seventy-five (75) hours of compensable time per week, as follows:

     62.       Evas regularly worked six (6) days per week, Mondays through Saturdays and often

worked on Sundays as well.

     63.       Evas almost always began work at 7:00 a.m. and his end time varied between 6:00

p.m. and 12:00 a.m., with his average workday being approximately thirteen (13) hours.

     64.       Evas usually received a thirty (30) minute lunch break.

     65.       On approximately three occasions, Evas worked overnight at the construction site.

     66.       During approximately his last month of employment, Evas worked around forty

(40) hours per week and received his correct pay.

     67.       Evas’ promised rate of pay was $200.00 per day, or $25.00 per hour assuming a

standard eight (8) hour day.

     68.       Defendants consistently failed to make timely wage payments to Evas. As a result

of this recurring issue, they accumulated a substantial debt owed to Evas in unpaid wages. This

outstanding debt amounts to at least $8,500.00, according to his own records.

D.   Plaintiff Jerez

     69.       From approximately July 2021 through August 2022, Jerez worked approximately

fifty-seven (57) hours of compensable time per week, as described below.

     70.       Jerez regularly worked six (6) days per week, Mondays through Saturdays. On

occasion, she also worked Sundays or did not work on Saturday.

     71.       Jerez almost always began work at 7:00 a.m. and her end time varied between 3:00

p.m. and 10:00 p.m., with her average workday being approximately ten (10) hours.

     72.       Jerez usually received a thirty (30) minute lunch break.



                                             8 of 18
          Case 1:24-cv-02844-JMF          Document 1        Filed 04/15/24    Page 9 of 18




     73.       During approximately his last month of employment, Jerez worked around forty

(40) hours per week and received his correct pay.

     74.       Jerez’s promised rate of pay was $200.00 per day, or $25.00 per hour assuming a

standard eight (8) hour day.

     75.       Defendants consistently failed to make timely wage payments to Jerez. As a result

of this recurring issue, they accumulated a substantial debt owed to Jerez in unpaid wages. This

outstanding debt amounts to at least $7,000.00, according to her own records.

                                           Notices of Pay

     76.       Defendants failed to provide Plaintiffs and all similarly situated employees, Notices

of Pay Rate at the time of their hire, or at any time thereafter, containing their rates of pay, the

designated payday, or other information required by NYLL § 195(1).

     77.       Because Plaintiffs did not receive notices of hire listing their hourly and overtime

pay rates, they were not given notice of their right to overtime wages or even their right to be paid

on an hourly, rather than daily, basis.

     78.       Because of this, Plaintiffs were monetarily harmed because the lack of notice hurt

their ability to promptly raise the issue of being underpaid on days when they worked longer hours

and received the same daily rate and when they worked overtime, depriving them of income for

longer than if they had received the proper notice.

                                           Wage Statements

     79.       Defendants also failed to furnish to Plaintiffs and all similarly situated employees,

with each wage payment, an accurate statement listing their regular and overtime rates of pay and

the number of regular and overtime hours worked, or any other information required by NYLL §

195(3).



                                              9 of 18
        Case 1:24-cv-02844-JMF          Document 1        Filed 04/15/24       Page 10 of 18




     80.       Because Plaintiffs did not receive wage statements, Plaintiffs were not able to

accurately assess how many hours they had worked and if they had been paid their full wages for

the time worked. This made it difficult for them to track the amount of unpaid wages they were

owed.

     81.       Plaintiffs were therefore monetarily harmed because the lack of wage statements

hurt their ability to promptly raise the issue of being underpaid and deprived them of income for

longer than if they had received the proper wage statements.

                                      FLSA Collective Action

        82.    Plaintiffs bring this lawsuit, in part, as a collective action on behalf of themselves

and all similarly situated persons who were employed during the statute of limitations period and

who elect to opt-in to this action (the “FLSA Collective”), pursuant to 29 U.S.C. § 216(b).

        83.    Upon information and belief, the FLSA Collective consists of no less than thirty

(30) similarly situated current and former employees of Defendants who all performed the same

or similar primary duties as construction workers, and who, during their employment with

Defendants, work or worked in excess of forty (40) hours per week and who were damaged due to

Defendants’ common policy and practices in violation of the FLSA including, inter alia, willfully

denying them overtime wages and failing to timely pay their wages owed.

        84.    As part of their regular business practices, during the relevant period, Defendants

engaged in a pattern, practice, and/or policy of violating the FLSA, including, inter alia, (i) failing

to pay the FLSA Collective overtime wages for the hours that they worked in excess of 40 hours

per workweek, and (ii) failing to timely pay wages owed.

        85.    Defendants have engaged in their unlawful conduct pursuant to a corporate policy

of minimizing labor costs and denying employees compensation.



                                              10 of 18
       Case 1:24-cv-02844-JMF            Document 1        Filed 04/15/24      Page 11 of 18




        86.     Defendants’ unlawful conduct has been intentional, willful, in bad faith, and has

caused significant damage to the FLSA Collective.

      87.       The FLSA Collective would benefit from the issuance of a court-supervised notice

of the present lawsuit and the opportunity to join the present lawsuit. Those similarly situated

employees are known to Defendants, are readily identifiable, and are locatable through Defendants’

records. These similarly situated employees should be notified of and allowed to opt-in to this

action, pursuant to 29 U.S.C. § 216(b).

                                        NYLL Class Action

        88.     Plaintiffs bring this lawsuit, in part, as a class action under the NYLL and applicable

regulations thereunder.

        89.     The putative class that Plaintiffs seek to represent, pursuant to Federal Rule of Civil

Procedure 23, shall be defined as: individuals employed by BK Grid as construction workers

during the statute of limitations period (the “NYLL Class”).

      90.       Plaintiffs allege that, on behalf of themselves and the NYLL Class, that Defendants

violated, inter alia, the NYLL by: (i) failing to compensate Plaintiffs and the NYLL Class at the

applicable minimum wage for all hours worked under 40 hours in a workweek; (ii) failing to timely

pay Plaintiffs and the NYLL class their full wages on a weekly basis (iii) failing to compensate

Plaintiffs and the NYLL Class at one and one-half times their regular rate of pay for all hours

worked in excess of 40 hours in a workweek; (iv) failing to provide Plaintiffs and the NYLL Class

Notices of Pay Rate at the time of their hire, or at any time thereafter, containing their rates of pay,

the designated payday, or other information required by NYLL § 195(1); and (v) failing to furnish

Plaintiffs and all similarly situated employees accurate wage statements with each payment, as

required by NYLL § 195(3).



                                               11 of 18
       Case 1:24-cv-02844-JMF           Document 1      Filed 04/15/24      Page 12 of 18




     91.       Numerosity and Impracticality of Joinder: While the exact number of NYLL Class

members is unknown to Plaintiffs and can only be ascertained through discovery, Plaintiffs believe

there are at least forty (40) putative class members. The number of NYLL Class members is

therefore too numerous to be joined individually in the lawsuit.

     92.       Existence and Predominance of Common Questions: Plaintiffs and NYLL Class

members share in common questions of law and fact that predominate over questions affecting

only individuals within the class. These common questions include, without limitation:

               a.      Whether Plaintiffs and the NYLL Class worked over 40 hours per week;

               b.      Whether Defendants failed to pay Plaintiffs and the NYLL Class all

               minimum wages owed to them;

               c.      Whether Defendants failed to pay Plaintiffs and the NYLL Class all

               overtime compensation owed to them;

               d.      Whether Defendants failed to timely pay Plaintiffs and the NYLL Class

               their wages owed;

               e.      Whether Defendants failed to provide Plaintiffs and the NYLL Class with

               their notices of pay rate;

               f.      Whether Defendants failed to furnish accurate wage statements to

               Plaintiffs and the NYLL Class;

               g.      Whether Plaintiffs and the NYLL Class are entitled to liquidated damages.

     93.       Typicality: Plaintiffs’ claims are typical of the claims of the NYLL Class they seek

to represent. Having worked for Defendants as construction workers, Plaintiffs and NYLL Class

members were subject to the same scheduling and compensation practices and policies as alleged

herein and therefore sustained the same or similar injuries and damages.



                                             12 of 18
       Case 1:24-cv-02844-JMF              Document 1     Filed 04/15/24     Page 13 of 18




      94.       Adequacy of Representation: Plaintiffs will fairly and adequately represent and

protect the interests of the NYLL Class because their interests are aligned and do not conflict with

those of the members of the NYLL Class. Plaintiffs are willing and able to represent the NYLL

Class and have retained competent and experienced counsel who are qualified and experienced in

employment class action litigation and who intend to prosecute this action vigorously.

      95.       Superiority of Method: A class action is superior to other methods for adjudicating

this controversy fairly and efficiently. Individual joinder is not practical and the common questions

of law and fact in class members’ cases predominate over questions affecting them individually.

Judicial economy is best served by allowing all similarly situated people to litigate their claims in

one class action, saving the Court and all parties time and expense.



                                    FIRST CAUSE OF ACTION

   ON BEHALF OF PLAINTIFFS, INDIVIDUALLY, AND THE FLSA COLLECTIVE

                Claims under the Fair Labor Standards Act for Unpaid Overtime

      96.       Plaintiffs reallege and incorporate by reference all allegations in all preceding

paragraphs as if fully set forth herein.

      97.       In the performance of their duties for Defendants, Plaintiffs and the FLSA

Collective worked substantially more than forty (40) hours per week, yet did not receive overtime

compensation at a rate of one and one-half times their regular rate of pay, or one and one-half

times the applicable minimum wage, for the labor they provided to Defendants, as required by the

FLSA 29 U.S.C. §§ 206 and 207.

      98.       The amount of unpaid overtime wages will be determined at trial.

      99.       Defendants’ violations of the FLSA, as described in this complaint, were willful

and intentional.

                                               13 of 18
       Case 1:24-cv-02844-JMF           Document 1        Filed 04/15/24      Page 14 of 18




      100.      Plaintiffs and the FLSA Collective are entitled to recover from Defendants all

wages due, liquidated damages, all reasonable attorneys’ fees, costs, interest, and such other legal

and equitable relief as this Court deems just and proper.



                                  SECOND CAUSE OF ACTION

         ON BEHALF OF PLAINTIFFS, INDIVIDUALLY, AND THE NYLL CLASS

                    Claims under New York Labor Law for Unpaid Minimum Wages

      101.      Plaintiffs reallege and incorporate by reference the foregoing allegations as if fully

set forth herein.

      102.      Defendants were required to pay Plaintiffs and the NYLL Class at an hourly rate of

$15.00 per hour, the applicable New York State minimum wage, under NYLL § 652 and

corresponding New York State Department of Labor Regulations, including, but not limited, to 12

N.Y.C.R.R.§ 142-2.1.

      103.      Defendants willfully failed to pay Plaintiffs and the NYLL Class their minimum

hourly wages in violation of the NYLL Article 19, §§ 650 et seq., and corresponding New York

State Department of Labor Regulations.

      104.      The amount of unpaid minimum wages will be determined at trial.

      105.      Plaintiffs and the NYLL Class are entitled to recover from Defendants all wages

due, liquidated damages, all reasonable attorneys’ fees, costs, interest, and such other legal and

equitable relief as this Court deems just and proper.



                                  THIRD CAUSE OF ACTION

       ON BEHALF OF PLAINTIFFS, INDIVIDUALLY, AND THE NYLL CLASS

                      Claims under New York Labor Law for Unpaid Overtime

                                              14 of 18
       Case 1:24-cv-02844-JMF              Document 1      Filed 04/15/24      Page 15 of 18




      106.      Plaintiffs reallege and incorporate by reference all allegations in all preceding

paragraphs as if fully set forth herein.

      107.      The Defendants willfully and intentionally failed to pay Plaintiffs and the NYLL

Class overtime wages at a rate of one and one-half times their regular rate of pay, or one and one-

half times the applicable minimum wage, for each hour worked in excess of forty (40) hours per

week, in violation of the NYLL, including 12 N.Y.C.R.R § 142-2.2.

      108.      Plaintiffs and the NYLL Class are entitled to recover from Defendants all wages

due, liquidated damages, all reasonable attorneys’ fees, costs, interest, and such other legal and

equitable relief as this Court deems just and proper.



                                 FOURTH CAUSE OF ACTION

       ON BEHALF OF PLAINTIFFS, INDIVIDUALLY, AND THE NYLL CLASS

                          Failure to Timely Pay Wages Under the NYLL

      109.      Plaintiffs repeat and reallege all prior allegations set forth above.

      110.      Defendants employed Plaintiffs and the NYLL Class as manual workers, as defined

by N.Y. Labor Law § 190(4).

      111.      Defendants failed to timely pay Plaintiffs and the NYLL Class their earned wages

in accordance with the agreed-upon terms of employment on a weekly basis and not later than

seven (7) calendar days after the end of the week in which the wages were earned, in violation of

NYLL § 191(1)(a)(i).

      112.      Plaintiffs and the NYLL Class are entitled to recover from Defendants all wages

due, liquidated damages, all reasonable attorneys’ fees, costs, interest, and such other legal and

equitable relief as this Court deems just and proper.



                                               15 of 18
       Case 1:24-cv-02844-JMF              Document 1     Filed 04/15/24     Page 16 of 18




                                   FIFTH CAUSE OF ACTION

       ON BEHALF OF PLAINTIFFS, INDIVIDUALLY, AND THE NYLL CLASS

        Claim for Defendants’ Failure to Provide Paystubs Under New York Labor Law

      113.      Plaintiffs reallege and incorporate by reference all allegations in all preceding

paragraphs as if fully set forth herein.

      114.      Defendants failed to provide full and accurate paystubs to Plaintiffs and the FLSA

Collective each time Defendants paid wages to Plaintiffs in violation of NYLL § 195(3).

      115.      As Defendants failed to provide Plaintiffs and the FLSA Collective with wage

statements as required by NYLL § 195(3), Plaintiffs and the FLSA Collective are entitled to

liquidated damages in the amount of $250.00 per day for every day in which the violation occurred,

up to a maximum of $5,000.00, along with all reasonable attorneys’ fees and costs.



                                   SIXTH CAUSE OF ACTION

       ON BEHALF OF PLAINTIFFS, INDIVIDUALLY, AND THE NYLL CLASS

  Claim for Defendants’ Failure to Provide Notices Upon Hire Under New York Labor Law

      116.      Plaintiffs reallege and incorporate by reference all allegations in all preceding

paragraphs as if fully set forth herein.

      117.      Defendants failed to provide Plaintiffs and the FLSA Collective a notice at the time

of hire in violation of NYLL § 195(1).

      118.      As Defendants failed to provide Plaintiffs and the FLSA Collective with payroll

notices as required by NYLL § 195(1), Plaintiffs and the FLSA Collective are entitled to liquidated

damages in the amount of $50.00 per day in which the violation occurred, up to a maximum of

$5,000.00, along with all reasonable attorneys’ fees and costs.



                                               16 of 18
       Case 1:24-cv-02844-JMF           Document 1        Filed 04/15/24    Page 17 of 18




WHEREFORE Plaintiffs, on behalf of themselves, the FLSA Collective and the NYLL Class,

pray for relief as follows:

   A. Certifying this action as a collective and class action, under §216(b) of the FLSA and Rule

       23(b)(3) of the Federal Rules of Civil Procedure;

   B. Ordering notice to the putative class and collective members at the earliest opportunity to

       ensure class members’ claims are not lost to the State and Federal statute of limitations;

   C. Declaring that the Defendants violated the Fair Labor Standards Act and New York Labor

       Law;

   D. Declaring that the Defendants’ FLSA violations were willful;

   E. Awarding Plaintiffs and the FLSA Collective their unpaid overtime wages due under the

       FLSA, as well as an equal amount in liquidated damages;

   F. Awarding Plaintiffs and the NYLL Class their unpaid minimum and overtime wages, and

       untimely wages due under the NYLL, as an equal amount in liquidated damages, statutory

       damages due for notice and wage statement violations;

   G. Prejudgment and post-judgment interest;

   H. Reasonable attorneys’ fees and costs of the action; and

   I. Such other relief as this Court shall deem just and proper.



                                         JURY DEMAND

       Plaintiffs demand a trial by jury on all issues so triable.


       Dated: New York, New York
              April 15, 2024

                                                       TAKEROOT JUSTICE
                                                       By:

                                                       /s/ Linden Miller
                                              17 of 18
Case 1:24-cv-02844-JMF   Document 1      Filed 04/15/24      Page 18 of 18




                                      Linden Miller
                                      123 William St., Suite 401
                                      New York, NY 10038
                                      (908) 251-9748
                                      Lmiller@takerootjustice.org

                                      /s/ Samantha Wilhelm
                                      Samantha Wilhelm
                                      123 William Street, Suite 401
                                      New York, NY 10038
                                      (646) 923-8315
                                      Swilhelm@takerootjustice.org

                                      Attorneys for Plaintiffs




                             18 of 18
